        CASE 0:24-cv-01743-JMB-DTS       Doc. 111    Filed 05/19/25   Page 1 of 3




                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
CALIFORNIA PUBLIC EMPLOYEES’ )                  Civ. No. 24-cv-1743 (JMB/DTS)
RETIREMENT SYSTEM, Individually and )
on Behalf of All Others Similarly Situated, )   CLASS ACTION
                                            )
                           Plaintiff,           LEAD PLAINTIFF’S UNOPPOSED
                                            )
                                                MOTION REGARDING NOTICE OF
                                            )
      vs.                                       RELATED CASE AND PROPOSED
                                            )
                                                STIPULATED SCHEDULE
UNITEDHEALTH GROUP INC., et al., )
                                            )
                           Defendants.      )
                                            )




4899-0417-5940.v1
        CASE 0:24-cv-01743-JMB-DTS          Doc. 111     Filed 05/19/25     Page 2 of 3




         Pursuant to Federal Rule of Civil Procedure 15(d), Lead Plaintiff California Public

Employees’ Retirement System (“CalPERS”) hereby moves this Court for an order vacating

all current deadlines for motion to dismiss briefing, and ordering the Parties to submit to the

Court a status update on the motion to transfer pending in the related case Faller v.

UnitedHealth Group Inc., No. 1:25-cv-03799-AKH (S.D.N.Y.) by June 18, 2025 (30 days

from the date of filing). This Motion is based upon the Notice of Hearing, the Notice of

Related Case and Unopposed Motion for Proposed Stipulated Schedule, the pleadings and

records on file, and such other matters and arguments as the Court may consider.

DATED: May 19, 2025                  ROBBINS GELLER RUDMAN & DOWD LLP
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                                             -1-
4899-0417-5940.v1
        CASE 0:24-cv-01743-JMB-DTS   Doc. 111    Filed 05/19/25   Page 3 of 3




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4899-0417-5940.v1
